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ROCK ISLAND, IL

IN THE UNITED STATES DISTRICT COURT

FOR THE SOUTHERN DISTRICT OF IOWA AUC Ig 2
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JOHN A BROWNER ) CASE NO 3:04-CV-40035 Clipk ys
) Siu TRERN
Plaintiff ) RESISTANCE TO MOTION FOR
) SANCTIONS FILED BY
v. } Charles Ruhl Jr. and Ruhi Development
) and Ruhl and Ruhl Realtors, and
CHARLES RUHL JR. et al ) Cavity Company LLC and Kaizen
) Company of America L.C. and Caroline
Defendants ) Ruhl, and Curtis E. Beason, Michael

) Byrne, Lane and Waterman,R. Clay
) Thompson, Kent M. Pilcher

COMES NOW John A. Browner pro se hereby file his resistance to above defendants

motion for sanctions under federal rule of civil procedures 11 and states as follows.

1. Under federal rules of procedure 11 (B)
2. These defendants are clearly requesting sanctions to harass plaintiff.

3. Clearly defendants has violated plaintiff right to due process and a fair trial
in the Iowa district courts by undue 18USC1961 racketeer influenced and corrupt
organizations (1} (3) (6).

4. On or about January 28, 1998 plaintiff was given an order by Judge Edward
B. deSilva Jr, for a settlement conference for February 13, 1998 an order and Judge
deSilva Jr. signed the document in front of plaintiff with a signature see exhibit #36
plaintiff has just found out by the clerk of the district court of State of lowa this
signature matches Judge deSilva Jr. signature.

5. Plaintiff challenges the signature on defendants exhibit B ruling dated 02.03/1998

as not being the signature of judge deSilva Jr case #91476

—|—
6. Plaintiff appealed the ruling on case #91020 dated 02./03/1998 and it appears by

the record the signature of deSilvia jr. does not match the signature affixed to this
ruling in case #91020 defendants failed to present this document before this court
it shows the signatures are completely different. see exhibit 35

7. This dispute has to be worked out in discovery process to determine which
signature is the correct signature of judge deSilva jr. plaintiff has just found out about
the different signatures.

8. Clearly the case #91476 was commence by the demand of Charles Ruhl Jr. and

Kent M. Pilcher and Cavity Company LLC and Kaizen Company of America L.C.
for action to enforcement of mechanic lien on Lot 5 and 6 46 Street 2nd Addition to the
City of Davenport Iowa by lowa Code 572.28 , lowa Code 572.26 states no other
cause of action shall be joined with a action for mechanic lien.
see exhibit 4 ] exhibit,

9. The mechanic lien was on Lot 5 and 6 46 Street 2nd Addition to the City of
Davenport Iowa for the amount of $210.000.00 see exhibit 2

i0. Defendants Charles Ruhl Jr. and Kent M. Pilcher and Cavity Company LLC
and Kaizen Company of America L.C. filed a motion to dismiss the mechanic lien the
motion was denied on December 3, 1997, the judge did dismiss Charles Ruhl Jr. and
Kent M. Pilcher in this case #91476 see exribit 34 — eq whbe #3 4

11. In violation of lowa Code 572.26 defendants Charles Ruhl Jr. and Kent M.
Pilcher and Cavity Company LLC and Curtis E. Beason a partner of Kaizen

Company of America L.C. and Kaizen Company of America L.C. illegal changed

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the subject matter and cause of action in case #91476 Browner DDS sold the property

at 4508 to Kaizen this is clearly false Browner DDS did not have any sale of 4508

Brady Street to Kaizen nor Cavity, This leaves plaintiff to believe there is a forged

signature of judge deSilva jr. on the case #91476, which can be proven in discovery

process. The signature on case #91020 is totally different from the other two signatures.
12. Small claims action case No. $C12531 clearly is for $1000.00 earnest money

held in Ruhl and Ruhl Realtors trust account paid by Ruhl Development per written

contract see 42807. small claims limitations and jurisdiction in lowa is $5000.00

the ruling by judge Toby small claims judge is clearly frivolous and fraudulent in case no

$C12531 this is defendants Charles Ruhl jr.and Ruhl and Ruh! Realtors trying get out

of the written agreement #42087 the mechanic liens amount is $210.000.00 which is

is above the jurisdiction of lowa small claims. SKA cbe k * u lg

As the small claims actions in case #12531 has nothing to do with a mechanic lien of

$210.000.00 rightful claim for plaintiff share of earnest money of $1000.00 #42087,

13. 42USC 1981 and 42USC1982 plaintiff has the rights as white citizen to enforce

written contracts the court through undue influence by defendants has denied plaintiff

this right through federal civil rights and racketeer influence and corrupt organizations

18USC1961 (1) (3) (S) ©). gis

14. Cavity Company LLC was formed by Charles Ruhl Jr. to held the illegal activities

of Kaizen Company of America and Ruhl and Ruhl Realtors Inc. and Curtis E. Beason

and Charles Ruhl Jr. and Kent M. Pilcher Caroline Ruhl and Mary Ruhl.

Cavity Company LLC has done no other business discovery process will show.

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15. Defendants Charles Ruhl Jr. for Ruhl Development has stated he has not closed the

purchase agreement he made a offer to close, which has never materialized.

16. There clearly was no check for $225.000.00 this is fraud upon the court let defendant

produce a check for $224.000.00 a $1000.00 earnest money is still being held in

Ruhl! and Ruhl Trust account the agreement was for 1031 exchange #42087.

16. All defendants did was has have Shives-Hattery illegally included plaintiff and his

wife real property Lot 1 in Dardis Addition to the City of Davenport lowa with their

real property change the boundaries lines without ownership of Lot 1 in Dardis Addition

to the City of Davenport lowa and sold the stolen real property Lot | in Dardis Addition

to the City of Davenport cross state lines to QCR Holding Company Moline Il.

15USC1717 and 15USC1719 Chapter 42 and 15USC1717a 15USC1708
CONCLUSION

In case no 91476 defendants Charles Ruh! Jr. and Kent M. Pilcher and Cavity
company LLC and Kaizen Company of America L.C. clearly demanded by Iowa code
§72.28 plaintiff to commence action to enforce his mechanic liens on Lot 5 and 6 46
Street 2nd Addition to the City of Davenport lowa in 30 days or his mechanic liens
would be forfeited.

Case No 91467 was assigned for the action to enforce plaintiff mechanic liens of
$210.000.00, lowa code 572.26 no other action shall be joined with mechanic lien
therewith.

Defendants Charles Ruhl Jr. and Kent M. Pilcher and Cavity/Kaizen filed a motion
to dismiss the mechanic’s liens there motion to dismiss, the court dismiss Charles Ruhl Jr.

and Kent M. Pilcher from the action, but the court denied Kaizen/Cavity motion to

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dismiss.
Defendants Kaizen/Cavity filed to further litigate the mechanic’s lien the $210.000.00
went to judgment for the amount of $210.000.00.

There was no contract with Kaizen Company of America written or oral with Browner
DDS to sell 4508 Brady Street, legal Lot 1 in Dardis Addition to the City of Davenport
Iowa to sell to Kaizen.

Since plaintiff was pro se to enforce his mechanic lien in case No 91476 tried to have
court enforce a fraudulent enforceable some kind of illegal deal, which plaintiff allege and
believe defendants agents or attorney wrote the rulings in case #91020 and case #91476
they or their agents illegal signed judge Edward B. deSilva jr. name on the rulings.
Which has be decided in discovery process.

In small claims actions case No SC 12531 the court in case #91476 dismiss Charles
Ruhl jr. and Kent M. Pilcher from that case.

Per written agreement #42087 Charles Ruhl Jr. stated he deposited $1000.00 earnest
money in Ruhl and Ruhl Trust account on October 5, 1994 the written agreement
#42087 has never closed therefore there must be an accounting of the earnest Money
of $1000.00 clearly the small claims action states earnest Money of $1000.00 the action
does not state $210.000.00 mechanic lien.

Defendants motion for sanctions is just to harass plaintiff, under the due process clause
of the U.S constitution. Plaintiff is asking for a injuction against defendants further acts
to steal plainitff real property.

The Fourteenth amendment give plaintiff equal protection under the law which plaintiff

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has been demed,

Plaintiff has the right to protect his property just as white citizens which has been denied.

WHEREFORE John A. Browner pro se request the court to deny the above
defendants motion for sanctions for all the reason stated above, and an injuction from
further acts, and make plaintiff whole returning his real property Lot 1 in Dardis Addition
to the City of Davenport Iowa, which is being held in illegal adverse possession by
defendants.

Respectfully submitted

John A. Browner pro se
308 A West 52nd Street
Davenport Iowa 52806

563 386 3879

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Copies t
Lane and Waterman
220 N. Main Street
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Davenport Iowa 52801

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900 U.S.Bank Center —
Davenport Iowa 52801

Thomas D, Warner
City Attorney

226 W. 4th Street
Davenport Iowa 52801

proof of service
the undersigned hereby certifies that a copy
ofthe instrament was served upon all attorneys 5.4%. ey
of record and all other parties aboved case. .
there address in the plein US Mail

Abt tas ne 2o0f

"IN THE DISTRICT COURT IN AND FOR SCOTT COUNTY
"Case No. 07821 LNLNO1CE35
——
DEMAND FOR BRINGING SUIT

TO: _ Mr. John Anthony Browner
308-A West S2nd Street
Davenport, IA 52806

Demand ig hereby made, pursuant to Iowa Code Section
572.28, for you to commence action to enforce the following
Mechanic’s Lien recently filed in the office of the Scott County
Clerk of Court: Case No. 07821 LNLNO10635.

Please be advised that your failure to bring such
action to enforce these liens within thirty (30) days of service

of this notice will result in the lien and-all benefits derived

therefrom to be forfeited.

LANE & WATERMAN
t

By

R. Clay Thompson 14120
Attorneys for Charles Ruhl, Jr.,
Kaizen Company of America, L.C.,
and Cavity Company, L.c,

Of Counsel:

LANE & WATERMAN
220 N. Main Street
Suite 600

Davenport, IA 52801
(319) 324-3246

#*

. MECHANIC'S LIEN (Sec.572.8)
STATE OF IOWA, Scag v T soa COUNTY, sa: i> fiw

7 ) 4 wy
I, the undersigned affiant, [who is JOH" i LGaenexs PARE
bookkeeper, etc.) (or) the Claimant) being duly sworn, deposaia ay"
the following statement is true to the best of my knowlegde tees ost
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ie made of my personal knowledge by reason of the relationshiprgtonesa
SCOTT CGUATY.

,the dates set. forth in Exhibit "A" hereof,
oh ' Batiewe te (Name of person, firm or corporation furnishir
material or labor), herein, referred to as the Claimant,. furnished
material or labor for, or performed labor upon, the building or land for
improvement, alteration, or repair thereof, situated upon, or being
identical with the following described real estate in
County, Iowa, to-wit: - arse Lusty Du EnjoueT, Tout Sas
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That said items were furnished pursuant to a contract made by the
then Owner of said premises, and were furnished by said Claimant. who is
(1) a contractor, (2) a subcontractor thereunder. That said items were
furnished beginning the Q§ day ynte- , 19%5_, and ending on the
13 day of sry , 1947, all as Specified in said Statement or
account hereto attached, marked Exhitit "A" and by this reference made
part hereof, and at the respective dates, amounts and prices therein
stated, which said account is a true and just statement for the same,
after allowing ay credits and offsets thereon. .

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(address) [30 CO Gad S4EPEr” Dravevpoet yeep S 2yel

is now the owner of said real estate and that there is now due and owing
to the said Claimant the principal sum of S$ot/). 0-4-e with interest
thereon at /0 1% per annum from and after the /:3 day of

13 , for which sum and interest, together with costs 4s provided by
law, said Claimant asserts a Mechanic’s Lien against said improvement and
the _avove described real estate upon which the same is situated: °— |:

Acting for
+

‘Affiant : Claimant.
Subscribed in my presence and Sworn to before me by the above named
Affiant this’ oil day of —rTu/L , 1997, ¥ °

ATTACH EXHIBIT "A"
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in and for sald County
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IN THE IOWA DISTRICT COURT IN AND FOR SCOTT COUNTY

JOHN A. BROWNER,

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Plaintiff,

Vv. CASE NO. 91476

PILCHER, CAVITY COMPANY, MOTION TO DISKISS

L.C., and KAIZEN COMPANY OF -

)

)

)

)

CHARLES A. RUHL, JR., KENT M.
}

AMERICA, L.C.
)

Defendants.

DEFENDANTS, Charles A. Ruhl, Jr., Kent M. Pilcher,
Cavity Company, L.C. ("Cavity"), and Kaizen Company of America,
L.Cc. ("Kaizen"), hereby move to Disniiss Plaintiff's Petition and
State as follows:

1. Plaintiff has filed this cause of action against
these Defendants regarding a Real Estate Contract which

Plaintiffs attaches to his Petition, together with numerous other

documents. ("Browner II").

2. Previously, on May 29, 1997, Plaintiff filed a
lawsuit in this same Court regarding the same Real Estate
Contract against Defendants, Cavity and Kaizen. Scott County No.
91020 ("Browner I"),

3. Moreover, on July 3, 1997, this Court forfeited

Browner’s interest in the same real estate contract which is the

subject of both, Browner I and II. (F.8.D. action) 66.) hy,

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4. The Court in Browner I granted Kaizen and Cavity

Summary Judgment with respect to Plaintiff's attempt to declare
the forfeiture of the contract invalid, finding that it has
previously been decided in the F.B.D. action sC94901.

5. Browner I involves the same real estate
transaction of which Plaintiff now complains in Browner II.

RES JUDICATA

6. Browner II seeks money damages from Cavity,
Kaizen, Charles Ruhl, Jr. and Kent M. Pilcher relating to the

Same contract and real estate transaction which is the subject of

Browner I.

4. The new Petition (Browner II) against Kaizen and
Cavity is barred under the doctrine of claim preclusion and
should be dismissed for failure to state a claim on which relief
can be granted pursuant to I.R.C.P. 104 (b).

DISMISSAL OF MECHANIC'S LIEN

8. Plaintiff attaches two Mechanic’s Liens as
Exhibits to hig Petition: LN10635 and LN10637. .

5. These Mechanic’s Liens relate to the same real
estate transaction and were filed after the Court’s July 3, 1997
Order forfeiting his interest in the property. F.E.D. action

$C94901,
—
10. Plaintiffs held an equity interest in the Property

until this Court’s July 3, 1997 Order. P.E.D. action $c94901,

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11. Plaintiffs cannot claim a Mechanics Lien in
property in which he was the owner. Further, any such claim
would be merged into the July 3, 1997 F.E.D. Order. Plaintifet
cannot claim such liens after the Court has forfeited his
interest.

NO PERSONAL LIABILITY

12. Plaintiff has attached to his Petition, a Real

Estate Contract between Plaintiff and Kaizen. Mr. Pilcher signed

the agreement in his capacity as Manger of Kaizen, not in his

individual capacity.
13. Plaintiff's Petition does not allege any basis for

personal liability of Mr. Pilcher. .

14. Further, Plaintiff attached an agreement between

himself and Ruhl Development Company, L.L.C. Mr. Ruhl signed in
his capacity as President of Ruhl Development and not in his

individual capacity.

15. Plaintiff’s Petition does not allege any basis for
personal liability of Mr. Ruhl.

16. Plaintiff’s Petition fails to sufficiently allege
a cause of action against any Defendant.

WHEREFORE, Defendants, Charles A. Ruhl, Jr., Kent M.
Pilcher, Cavity Company, L.C. and Kaizen Company of America, L.C.
respectfully request that the Court enter an Order expressly
declaring Plaintiff’s Mechanics liens (Case No. 07821 LNQ1635 and: -.
LN01637} to be invalid and without any claim to the property and

,

to dismiss Plaintiff's suit in its entirety.

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Gidnael P. Byrne \\
220\N. Main Street
Suite 600

Davenport, IA 52801
(319) 324-3246

Attorneys for Defendants

Charles A. Ruhl, Jr., Kent M.

Pilcher, Cavity Company,
of America,

Kaizen Company

Copy to:

John A. Browner -
308 West Sand Street
Davenport, IA 52807

proof OF SéRVICE ‘

The undersigned certifies that the foregolng Inatrument was served
upon alt parties to the above cause to each of the attorneys of record
herein at their respective addresses disclosed -on the plasdings, on
October 24, 1997.

By: u.$. Hail
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Signature LAA.
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IN THE IOWA DISTRICT COURT FOR

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Darendant/ Responaent.

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o hha cl érké/ shall notify all counsel of record and any party

represented by counsel. }}
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Seti a Judge, £/tt Seventh Jueicial
Distfict of Iowa

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572.26 Kinds of action ~- amendment.

An action to enforce a mechanic's lien shall be by equitable proceedings, and no other cause of action
shall be joined therewith.

Any lien statement may be amended by leave of court in furtherance of justice, except as to the amount
demanded.

Section History: Early form

[C51, § 985; R60, § 4183; C73, § 2510; C97, § 3429; C24, 27, 31, 35, 39, § 10295; C46, 50, 54, 58,
62, 66, 71, 73, 75, 77, 79, 81, § 572.26]

Previous Section 572.25

Next Section $72.27

Comments about this site or page? iacode@staff-legis.state.ia.us.
Please remember that the person listed above does not vote on bills. Direct all comments concerning

legislation to State Legislators.

Last update: Tue Jan 28 13:52:42 CST 2003

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IN THE IOWA DISTRICT COURT FOR SCOTT COUNTY aly

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JOHN A, BROWNER, ) agen 3 AM I: 13
) LAW NO. 91476 — CLERK GE SE. NEL voy
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Plaintiff, “Orr Coin TE igieeT
vs. ) RULING ON DEFENDANTS’
) MOTION FOR SUMMARY
CHARLES A. RUHL, JR., KENT M. y JUDGMENT
PILCHER, CAVITY COMPANY, L.C., )
and KAIZEN COMPANY OF ‘)
AMERICA, L.C. )
)
_ Defendants. )

On January 28, 1997, a hearing was held on Defendants Cavity and Kaizen’s
(Defendants) Motion for Summary Judgment. Plaintiff John A. Browner (Browner) resists.
Defendants appeared by their attorney Michael P. Byme, Plaintiff Browner appeared pro se. The
Court having reviewed the motion, pleadings, and arguments of counsel enters the following
ruling.

Browner, D.D.S. owned property at 4508 Brady Street. Browner sold the property to
Defendant Kaizen on March 28, 1995. See Exhibits E& F, Browner received a HUD-1 Closing
statement on or about the time of the closing. See Exhibit B. Kaizen payed $225,000 for the
- property and issued a check to Browner’s attorney. See Exhibit D, On or about the same time,
Browner agreed to purchase lots 5 and 6 located along Welcome Way from Defendant Kaizen.
Browner entered into a real estate contract with Kaizen for purchase of said lots. The total cost
of the lots and a building to be erected for Browner, including extras, was $167,885. Browner
made payments in the amount of $88,957, which came from the sale proceeds of the property

located at 4508 Brady Street. Browner was to pay off the balance of $78,928, which included

applicable insurance and taxes, im monthly installments.

Browner defaulted on his payments and a Notice of Forfeiture was sent to Browner.

Browner cured the initial Notice of Forfeiture. Browner defaulted a second time and a second
Notice of Forfeiture was sent to Browner. Browner failed to cure the default within the statutory
30 day period. On July 3, 1997, Magistrate Mary Howes-Davis forfeited all of Browner’s
interest in the Welcome Way property. Browner filed lawsuit No. 91020 (Browner 1) wherein
Browner sued to set aside the forfeiture and for an accounting on the amount owed on the real
estate contract. In a ruling dated September 24, 1997, Judge Madden granted Defendants’
motion for summary judgment regarding the forfeiture issue but found a genuine issue of

material fact existed as to the amount due that was the basis of the forfeiture. Browner then filed
a second lawsuit No. 91476 (Browner Il) alleging entitlement to funds from the sale of the Brady —
Street property and for damages arising out of an alleged invalid real estate contract. FF

Pursuant to Rule 237 of the lowa Rules of Civil Procedure, the Defendants have moved

for summary judgment in Browner I arguing that no genuine issue of material fact exists
regarding the sale of the property located at 4508 Brady Street by Browner to Kaizen. Summary
judgment is proper if the record shows no genuine issue of material fact and the moving party is
entitled to judgment as a matter of law. Iowa R. Civ. P. 237(c) (1996); Stahl y. Preston Mut. Ins.
Ass'n, 517 N.W.2d 201, 202 (lowa 1994). On the other hand, summary judgment is inappropriate
if a genuine issue as to any material fact exists or if reasonable minds could draw different
inferences and conclusions from undisputed facts. Red Giant Oil.Co. v. Lawlor, 528 N.W.2d 524,
528 (lowa 1995). The burden of showing the nonexistence of a material fact rests with the moving
warty. Engstrom y. State, 461 N.W.2d 309 (lowa 1990). In considering a motion for summary

judgment, the Court is required to examine the entire record, including pleadings, depositions,

answers to interrogatories, admissions on file, and affidavits, in the light most favorable to the

nonmoving party. Red Giant Oil Co. v. Lawlor, 528 N.W.2d at 528. In other words, “every

legitimate inference that reasonably can be deduced from the evidence should be afforded the

nonmoving party.” Knapp v. Simmons, 345 N.W.2d 118, 121 (iowa 1984).

In a summary judgment motion, “genuine” issue of fact means the evidence is such that a

reasonable jury could return a verdict in favor of the nonmoving party. Dickerson v. Mertz, 547
N.W.2d 208, 212 Gowa 1996). A fact is “material” if it might affect the outcome of the suit, given
the governing applicable law. Id. Hence, the Court, in rendering a decision on Defendant’s motion

for summary judgment, must determine if any facts exist where reasonable differences of opinion —

. would affect the outcome of the case.

The Court finds that no genuine issue of material fact exists regarding the sale of property
located at 4508 Brady Street by Browner to Kaizen. Browner agreed to sell his Brady Street
property to Kaizen for $225,000. Kaizen satisfied its obligation to Browner when it issued a
check to Browner’s attorney for $225,000. See Exhibit D. The HUD-! statement, Closing

Memorandum, and the Warranty Deed demonstrate that Browner canveyed all of his interest in

the Brady Street property to Kaizen on March 28, 1995. The question of whether liens on the

Brady Street property were or were not satisfied at the time of closing is not relevant to the

Court’s analysis on these facts because the real estate agreement placed responsibility for

satisfaction of any liens that remained upon Browner and were thus not the responsibility of
Kaizen, See Exhibit F.
The Court further firids that Browner’s allegations of an invalid real estate contract, based

upon Charles Rubl’s failure to sign the closing agreement and settlement statement, are without

merit. Keat Pilcher, who was the Manager of Kaizea, signed the closing agreement and

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For the reasons stated above, tis therefore ORDERED that Defendants’ Motion for

Summary Judgment is hereby GRANTED.

Dated at Davenport, Jowa this 2 day of February "2 2

Edward B. deSilva Jr.
. District Court Judge
Seventh Judicial District
IN THE lOWA DISTRICT COURT FOR SCOTT COUNTY g tame eS
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JOHN A. BROWNER, ) .. “3 AIO: 13
) LAW NO. 91020 CLE AK ce oe AEH
Plaintiff, ) cor of MEY | Goer
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vs. ) RULING ON DEFENDANTS’
) MOTION FOR SUMMARY |
_ CAVITY COMPANY, LC. ) JUDGMENT
and KAIZEN C COMPANY OF )
AMERICA, L.C. )
. )
Defendants. )

On January 28, 1997, 4 hearing was beld oa Defendants Cavity and Kaizea's
(Defendants) Motion for Summary Judgment. Plaintiff John A. Browner (Browner) resists.
Defendants appeared by their attorney Michael P. Byme. Plaintiff Browner appeared by his -

attomey William Stengel. The Court having reviewed the motion, pleadings, and arguments of

counsel enters the following ruling.
Browner, D.D.S. owned property at 4508 Brady Strect. Browner sold the property to

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Defendant Kaizen oa March 28, 1995. Kaizeo payed $225,000 for the property and issued a
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6 located along Welcome Way from Defendant Kaizen. Browner entered into a real estate
contract with Kaizen for purchase of said lots. The total cost of the lots and a building to be

erected for Browner, including extras, w#s $167,885. Browner made payments in the amount of
$88,957, which came from the sale proceeds of the property located at 4508 Brady Street.
Browner was to pay off the balance of $78,928, which included applicable insurance and taxes,
in monthly installments.

“Browner failed to make the required payments between October 1995, and Désember 31.

1996. Defendants sent a Notice of Forfeiture to Browner. Browner cured the initial Notice fe Leet

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Forfeiture. Rrowner defaulted a second time on payments due between January 1997- March
1997, totuling $2,691.51. A second Notice of Forfeiture was sent to Browner. Browner failed to
cure the default within the statutory 30 day period. On July 3, 1997, Magistrate Mary Howes-
Davis forfeited all of Browner’s interest in the Welcome Way property. Browner filed lawsuit
No. 91020 (Browner 1) wherein Browner sued to set aside the forfeiture and for an accounting on
the amount owed on the real estate contract. In a ruling dated September 24, 1997, J udge
Madden granted Defendants’ motion for summary judgment in part with respect to the forfeiture

issue, but found a genuine issue of material fact existed as to the amount due that was the basis of

the forfeiture.
In its motion for summary judgment, the Defendants argue that no genuine issue of

material fact exists regarding the amount listed as due on the forfeiture. Defendants argue that
the Court’s consideration of its second motion for summary judgment is entirely appropriate in
light of additional documentation that has been provided, but which was not previously before
the Court. Specifically, Defendants argue that the documentation demoastrates that Browner
owed Kaizen a balance of aearly $78,000 on the Welcome Way property after proceeds from the
sale of the Brady Street property were applied to the real estate transaction. Plaintiff Browner
argues that the Court must take judicial notice of Judge Madden's previous ruling which held
that a genuine issue of material fact existed regarding the amount listed on the forfeiture.
Browner concludes that res judicata bars further consideration of Kaizen's motion. -

Pursuant to Rule 237 of the lowa Rules of Civil Procedure, the Defendants have moved

- for summary judgment in Browner II arguing that no genuine issuc of material fact exists

regarding the sale of the property located at 4508 Brady Street by Browner to Kaizen. Summary

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judgment is proper if the record shows no genuine Issue of material fact and the moving party is

entitled to judgment as 4 matter of law. lowa R. Civ. P. 237(c) (1996); Stab} v. Preston Mut, Ins

Ass'o, 517 N.W.2d 201, 202 (Iowa 1994). On the other hand, summary judgment is inappropnate

if a genuine issue 45 to any material fact exists or if reasonable minds could draw different

infereaces and conclusions from undis

puted facts. Red Giant Qi Co..v. Lawlor, 528 N.W.2d 524,

$28 (Iowa 1995). The burden of showing the nonexistence of & material fact rests with the moving

party. Engstrom vy. nists, 46) .N.W.2d 309 Cowa 1990). In considering a motion for summary

judgment, the Court is required to examine the entire record, including pleadings, depositions,

answers to interrogatories, admissions

on file, and affidavits, in the light most favorable to the

nonmoving party. Red Giant Oil Co. v. Lawlor, 528 N.W.2d at $28. In other words, “every

legitimate mference that reasonably can be deduced from the evidence should be afforded the

nonmoving party.” Koapp v. Simmons 345 N.W.2d 118, 121 (lowa 1984).

In a swsomaty judgment motion, “genuine” issue of fact means the evidence is such that 8

reasonable jury could retura a verdict in favor of the nonmoving party. Dickerson v. Mertz, 547

WW.2d 208, 212 (owa 1996). A fact is “material” if it might affect the outcome of the suit, given

the governing applicable law. Id. Hence, the Court, in rendering & decision on Defendant's motion

for summary judgment, must detecmine if any facts exist where reasonable differences of opinion

would affect the outcome of the case.

The Court holds that the additional documentation provided by the Defendants

demonstrates that no genuine issue of material fact exists that might affect the outcome of the

suit, given applicable law (emphasis added). In the Defendants’ first motion for summary

judgment, the Court determined that 4 genuine issue of material fact existed as to the amounts
listed as due in the forfeiture. While Browner has not suggested what he believes to be the

correct amount owed, Browner does allege that the $2691.51 listed by the Defendants in the
Natice of Forfeiture is incorrect. The issue before the Court is whether Browner may rely on a
discrepancy between the amount listed as owed in a Notice of Forfeiture and the actual amount
owed as a basis for either setting aside the forfeiture or bringing an action for breach of contract

~ for damages. Even assuming that the amount listed in the Notice of Forfeiture did not represent
the actual amount Browner owed Kaizen on the real estate contract, the Court finds that Browner
is not entitled to set aside the forfeiture or bring an action for damages against the Defendants.

In Gaston v. Hom, 138 N.W. 925 (lowa 1912), the Court refused to set aside a forfeiture
when the notice stated that the vende owed $500 when actually only $185 was due. In
Hamptom Farmers Co-op. Co. v. Fehd, 133 N.W.2d 872,,875 (lowa 1965), the Court reaffirmed
its decision in Gaston holding that the fact that a vendor may have asked for something in the
notice of forfeiture to which he was not entitled will not defeat the forfeiture so long as it
- contains one matter oa which the vendor is entitled to give notice of forfeiture. The rule
articulated by the lowa Supreme Court is clear: in the event notice of forfeiture makes demand
for more than that to which the vendor is catitled, such excessive demand will not invalidate the
forfeiture. Id

The documentation provided by the Defendants clearly establishes that Browner owed a
principal balance of $78,928 on the real estate contract involving lots 5 and 6, Browner agreed to"
make monthly payments on the balance which included an additional payment for insurance and
taxes. Browner himself does not pretend to dispute that he failed to make the required payments

from January 1997- March of 1997. In a prior ruling, Magistrate Davis held thet Browner’s

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attempted tender of the amount duc was untimely. The default is conceded. It was specified in
the notice (that at least some amount was owed for failure to make the required payments for
three months) and was sufficient to entitle vendors to invoke a forfeiture. Even assuming Kaizen
overstated the requirements to cure the default, such an act is not fatal to notice and cannot serve
as a basis for setting aside a forfeiture.

The Court also holds that Browner is not entitled to bring an action for breach of contract
or for damages arising out of the forfeiture of the Welcome Way property even assuming that the
amount listed in the Notice of Forfeiture did not represent the actual amount Browner owed
Kaizen on the real estate contract. Vendors, such as Kaizen, have various remedies when a
vendee, such as Browner, is in default under a real estate contract. Vendors have a right to clect
whether (1) to keep good their tender of performance, demand the balance of the purchase price
and sue for specific performance; (2) to terminate the contract because of the vendee’s breach,
keep their land and sue for damages for the breach; (3) rescind the contract in toto; o (4) to
enforce a forfeiture under the statute. Pierce y, Farm Bureau Mutual Ins, Co., 548 N.W.2d 551,
556 (lowa 1996). This election of potentially available remedies belongs to the vendor and not to
the defaulting vendee. On these facts, Browner was in default for failure to make required
payments. As the party in default, Browner may not bring an action against the vendor Kaizen
for breach of contract or for damages. Defendants are entitled to judgment as a matter of law.

For the reasons stated above, it is therefore ORDERED that Defendants’ Motion for

Summary Judgment is hereby GRANTED.

Dated at Daveaport, lowa tus 2 day of em 72

Edward B. deSilva Jr.
District Court Judge _
Seventh Judicial Distri

IN THE DISTRICT COURT OF IOWA IN AND FOR SCOT RED IOWA

PLAINTIFF ( ORIGINAL NOTICE -
"pupil A. 1Br ‘
a . 1824 WAZ ACTION FOR eng Ug

£ Shrtcr. SMALL CLAIM NO
5 Oxf MARLEN a

AA Feat), Dywd Serpe DATE Frihblt OF isTRICT COU

(address) S01 2523/

BENDANT (8), Make sure that your correct
( i Haars Rus He et mailing address and number
(N ne) appear on this form. If you
Of ty} Utica yi: aby. led D4o. TO eannot be contacted, you may
{pddzess) not receive trial or continuance

tt fot.r Itois notices and judgment may be 1
entered against you, if you fai
Bp) Mtuddle fal Extent s Four to appear.

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TO THE ABOVE NAMED DEFENDANT (S) : +

YOU ARE HEREBY NOTIFIED that the above names plaintiff (3) ' demand (s)
from you the amount of $/(()t.iV_ based on dé Atiyr mas, #28? =U SAY
tw Bit fta/ Lygrent nak fi Hos f Atcut (state briefly basis for the demand.

UNLESS YOU “APPEAR by completing and filing the attached appearance and
answer form with the Clerk of Court at 416 West 4th Street, Scott County
Courthouse in Davenport, L[owa 52801, WITHIN 20 DAYS AFTER SERVICE OF THIS
ORIGINAL NOTICE UPON YOU, judgment shall be rendered against you upon
Plaintiff's claim together with interest and court costs.

IF YOU DENY THE CLAIM AND APPEAR by filing the attached appearance and

answer WITHIN 20 DAYS AFTER SERVICE OF THIS ORIGINAL NOTICE UPON YOU, you

will then receive notification from the Court Administrator's office of the
place and time assigned for hearing.

If you require the assistance of auxiliary aids “Jo Hal A. GB tan

or services to participate in court because cf a Plainti€£e (s)

disability, immediately call your distzict ADA S0y by EST Sav S# Dou. Suri
coordinator at 326-8607 (If you are hearing Address

impaized, call Relay Iowa TTY at Su 2 — Fe SG -F575

1-800-735-2942) Phone (Home and Business)

JUDGMENT ENTRY:

IT IS HEREBY ORDERED THAT JUDGMENT BE ENTERED AGAINST ’
(Defendant(s) Plaintiff(s) in the amount of § with interest at the
rate of percent from the day of , 20_, and
attorney Fees in the amount of § plus Court Costs in the amount of

. ’ ‘
IT IS FURTHER ORDERED THAT the foregoing judgment be paid at the rate of
$ per {month/week}.
Date ' Magistrate

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fa AGREEMENT TO PURCHASE AZAL ESTATE
for une only by Members of the A°GR7
GREATER DAVENPORT BOARD OF REALTORS® : =
Smaioa THIS 16 A LEGALLY BiNOWD CONTRACT none
pae Dctobor 5, }994
Te Be. John A, and Shirley 4. Brower _» ell
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The undersigned (Purchaser),

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12. Parties achnowladge inal AGENCY sisclosures have Been made and signed prior to signing of this purchase agreament. The Groket
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ADDENDUM 6

j t
1? fa reference tu the purchase agreement covering the real property commonly knuwn as 4508 North

Brady Street, Davenport, lawa, a8 shows on Exhihit A, daled October 5, 1994 between Dr. Joba A.
and Shirley A. Browner (Selicr) and Ruhl Develipment Compaay, LLC (Purchaser), the undersigned

Parties hereby agree as follows:

i Seller acknowledges that Purchaser has disclosed he ia a Sicensed real estate
slates of lows and (Hiaols, broker In toe

2. This agreement is expressly conditional to Purchaser securing a commitment from an
idemified party for a building to be developed on subject property. Jn the event such ‘ i
+ commilment is nol received on or before sixty (45) days from acceptance of this agreement, « I
Purchaser, at lis option, can cancel its obligations of this purchase and this agrecment shall” ¢°
become null and void and the earnest money shall be refunded to Purchasor,.- .

3, Seller agrees, upon acceptance of thie agreement, to Immediately ordet an abstract
a and deliver continued abstract 1o

opt
opinion discloses any encumbrances, eaxemenls, Uf uther Purchaser objectlons, Purchaser
shall provide wrltten notice to Seller. The Seller shall have thirty (30) days after wrlttes
ceceipt of written objectiona to correct any objections tothe thie, If such objections cannot be
cused by Seller within thirty (30) days, Purchaser may elect to terminate this agreement and

the earnest money shall be refunded to Purchaser.

4. ‘The Seller grants to the Purchaser and Its agents the right to cater upon the Property at Ay
reasonable time for any lawful purpose, Including but not Ilmited to making land surveys,
engineering studles, environmental teat, soll tals and any other test, study oF Inspection 2.
the-sole coat and expense of Purchaser in connection with the ‘proposed commercial

of the Property. Such right of entry shail be exercised Ia a reasonable manned,
ad the Purchaser hereby agrees to Indemalfy and hold Seller harmless from all costs,
expenses and damages, by reason such entry. Aay existing survey in Seller's possession
shall be furnished to Purchaser wi ten (10) days of the signing of thie agreement.

$. ‘This agreement Is expressly conditioned upon zoning, platting and plan approval of the . ,
Property for Purchaser's Intended use satisfactory to the Purchaser. If subject property Is
zoned for Purchaser's Intended vse, Seller shall sign an appticaiion to have the

presenily not
Property plan approved and rezoned for retail and office use. Seller shall cooperate with
Purchaser ia securing any needed rezoning, plan or permils, and In procesalag to

completion the application and ali documents relating thereto, The applicailon shall be made
in the name of Seller and Purchaser OF as otherwise required under the applicable governing
ordinance or regulation. Purchaser shall select the allorney, land planner, engineer, architect
of other representative to prepare and present the zoning plan and building permit application
and to present the same at all hearings. All expenses, fees and costs lo secure such zoning
shall be pald by Purchaser. Both Seller and Purchaser agree that the Purchaser's allorncy
may represent both parties for such zoning hearings, provided Seller approves Purchaser's

selection of attorney.

6. In the event Purchaser finds soil conditions, enviroamental conditions, vehicular access,
availability of utilities, municipal approvals, of any olher conditions unsuitable for Purchaser's
intended development, Purchaser, at its option, can terminate this agreement On OF before

closing and the earnest money shall be refunded to Purchaser.

1 See Exhibit B.
The herein agreemeni, upon its execution by both parties, is herewith made an integral part of the
aforementioned purchase agreement.

PURCHASER: SELLER;

DR. JOHN A. BROWNER

oy. Ut \ A Aon
Date: [eo 2f0-Fs i

SHIRLEY A. BROWNER ,.. :

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RUHL DEVELOPMENT COMPANY, LLC

B
Date

ADDENDUM BD

cuvesing the real property commonly known as 4508 North

a ee since Coa purchase agreement
y Street, avenpart, Kawa, a8 shown om Bxhihit A, dated Octuber $, 1994 hetween Dr
and Shirley A. Orowner (Seller) aad Rub Devekapment Company, LLC Purchaser), the Ndorslged

Parties hereby agres a6 follows:

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PURCHASER:

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herein agreement, bpon Ks execuiion by both parties, ls

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idemified party for a building to be developed on subject property. In the event such
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ahall provide written notice lo Seller. The Selier ahall have
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cured by Selles within thirty (30) days, Purchaser may elect to

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Including bul act limited to making land surveyt,

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development of the Property. Such right of eniry phall be exerclsed ln & reasonable manner,
Indemalfy and hold Seller harmless from all costs,
expenses and damages, by reason of such enlry. Any existing survey in Seller's possession
Co ae a Purchase wii tem (10) days of te igang of tis agrees
tloned upon zoalng, plaiting and plan approval of the,
Intended use satisfactory to the Purchaser, If subject property ls -
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ezoned For retail and office use. Seller shall cooperaa with
needed rezoning, plan eppraval oF permits, and in processing (0
nd all documents relating ihereto. The appilcailon shall be made
in the name of Selies and Purchaser of as otherwise required under the applicable governing
ordinance or regulation. Purchaser shall select the sitorney, land planner, engineer, architect
of other representalive 10 prepare the zoning plan and bullding permit application
and to present the same all hearings. All expenses, feea and coats to secure such zoning
shall be paid by Puechaser. Bown Seller and Purchaser agree that the Purchaser's aliorney
may represent both parties for such zoning hearlngs, provided Seller approves Purchaser's

selection of atiorney.

In the event Purchaser finds soil conditions, environmental conditions, yehleular access,

avaitability of utilities, municipal approvals, of any other conditions unsuitable for Purchasers

Invended development, Purchaser, at its option, can terminale this agreement on OF before
refunded a Purchaser.

closing and the earnest monay shail be

Ses Exhibit B.
herewith made an Integral part of the

purchase agreement.
SELLER:
DR. JOHN A. BROWNER

RUHL DEVELOPMENT COMPANY, LLC
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SHIRLEY A, BROWNER is et eget TWh
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set . ”

EXHIGIT B
WARRANTIES AND.COVENANTS
A Sellec represents, covenants and warrants thal:

i. There aro, and will be at timo of closing, 20 leases, tenancies, coniracts Of
agreements in effect wlth reapect to the Property.

2. To the best of Seller's knowledge and belief, there are no condemnation ,
voacedings pending oF conlemplaled which would affect ll or any portion of
the Property. t

3. rhe Property bas never beea used to generale, manufacture, refi, VADPO‘

treat, produce, sore, handle, wansfer, process, transport or dispose of
* or "Hazardous Wasie” or *Substances

vo 4, The Property has open aad unobstructed access through approved cutb
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vehicular ingress and ogress.

5. seller owna the Property In foe simple sbsolie and has fll power 19 scl dnd
Selle ow property in accordance wiih the terms and conditions of Ui

Agresment.

6. ‘The sigaatory hereof executes this Agreement a3 a duly authorized officts of
Tel neceasary and appropriaus auhority 0 exer inio and

compleis this
a. Seller hereby covenants to Purchaser,

i. Seiler will neither execute any new lease os modify any existing lease without
Purchaser's prior writen consent,

from and after the date hereof, as follows:

2. Seller will keep the Property fully Lavured against casualty and public liability.
: Purchaser
Seller

CHESTER J. CULVER
lows SECRETARY OF STATE

Lucas BUILDING, Fist FLOOR
Des Mornes, lowa §0319

September 16, 2003

Patrick W. Driscoll
Stanley, Lande, & Hunter
900 Firstar Bank Bldg
201 W Second St.
Davenport LA 52801

Dear Mr. Driscoll:

In March 1998, the Secretary of State's Office received a notary complaint against you
from Dr. John A. Browner. On February 5, 2001, the Secretary of State’s Office
proposed an informal settlement agreement. On August 13, 2001 you responded with a

counter offer to settle.

Since that time, Dr. Browner has filed a great deal of additional information with the
Secretary of State’s Office and the State Ombudsman’s Office. Upon review of the entire
file, the Secretary of State's Office accepts your offer of settlement dated August 13,
2001 conditioned upon you attending a notary course. We currently, have a courses
scheduled for your area in October. I have enclosed a copy of the information on the

upcoming courses.
Upon completion of notary training this matter shall be resolved.

Thank your for your cooperation on this matter.

Sincerely,

Steven Mandernach,
Director of Business Services

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Rpt 1D =: Cpw200 Iowa Court Information System Page: 1

Rpt Date: 09-JUL-04 SCOTT
Rpt Time: 04:08 PM Clerk of Court - CARLIN, ACTING, JULIE C
Rpt Beg : 21-JUL-97 Combined General Docket

Rpt End : 09-4UL-04

Case O7-82-1- -LN-LNO10635
Title BROWNER, JOHN VS RUHL, CHARLES ET AL

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Sub-Type Mechanic’s Nature

Initiated 21-JUL-97 Milestone DISPOSED Mil Dt 24-JUL-97
Judge Tp dud Bt Agency Pin

Agency Name

Disposition CLOSED , Disp Dt 21-JUL-97
Reopened Dt Microfilm Reference
Judge Tp UNKNOWN Judge Pin CLERKHAND

dudge Name HANDLED BY CLERK

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In the District Court of Iowa, In and For SCOTT County

JGHN A. BROWNER }
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}
Plaintiff(s)
vs.
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CHARLES RUHL )
KAIZEN COMPANY OF AMERICA )
CAVITY )
)
Defendant(s)
ann n ene e enna ne eee een n nnn n en eee Litigants ~------ers ccc rrr rece se
Role Name
PROPERTY CO-OWNER RUHL, KAIZEN, CAVITY
Litigant Pin SC1088023
PLAINTIFF BROWNER, JOHN ANTHONY
Litigant Pin SC1212019
DEFENDANT RUHL JR, CHARLES
Litigant Pin SC1038073
DEFENDANT CAVITY COMPANY LC
Litigant Pin 5C1083865
DEFENDANT KAIZEN COMPANY OF AMERICA LC

Litigant Pin SC1083886
t

~ .
Rpt ID ; CPWw200
Rpt Date: O9-JUL-04
Rpt Time: 04:08 PM
Rpt Beg : 21-JUL-97
Rpt End : 09-JUL-D4

Iowa Court Information System Page: 2
SCOTT
Clerk of Court - CARLIN, ACTING, JULIE C
Combined General Docket

Case O7-82-1- -LA-LWO10635

Title BROWNER, JOHN VS RUHL, CHARLES ET AL

meee tere rics ccc ct ensercaeseces Papers Filed -------+--++*-

Filed Date ¢ Time Seq Event Reference 5t

271-JUL-97 10:40 AM 1 MLNF c
Description MECHANICS LIEN FILING

24-JUL-97 08:00 AM 1 OTOT c
Description OTHER EVENT
Comment(s) NOTICE OF MECHANIC'S LIEN SENT 70
LANE & WATERMAN FOR KAIZEN & CAVITY
CHARLES RUHL MAILED

24-JUL-97 10:45 AM 0 NONO c
Description COMPUTER GENERATED NOTICE
Comment(s) NOTICE OF MECHANIC’S LIEN (CIVIL)

Date "Time $q
07/21/97 10:40 AM 1
Seq # 1601

Town DAVENPORT

Lot 5 Outlot
Text

Seq # 1602

Town DAVENPORT
Lot 6 Outlot
Text

St Date St Judgment Status
07/24/97 N NONE
index Status A Date 26/07/97
Addition FOUR SIX STREET 2ND ADDITION
Black County Cd 82
Case Cd M

Index Status A Date 24/07/97

Addition FOUR SIX STREET SECOND ADDITION
Block County Cd 82
Case Cd M
Rpt 1D: FMaC7O
Rpt Date: 09-JUL-04
Rpt Time: 04:08 PM
Rpt Beg : 21-JUL-97
Rpt End : O9-JUL-04

Iowa Court Information System
SCOTT
Clerk of Court - JULIE C CARLIN, ACTING
Case Financial Management
Financial Summary

Case 1D » O7-B2-1- -LN-LNO10635 = Title: BROWNER, JOHN VS RUHL, CHARLES ET AL

Obligar PIN:
ObLigee PIN:
Payor PIN :
Payee PIN :

Fited Dt Fiked Tm Sq F-Cd C Description

21-JUL-97 10:40 AM
21-JUL-97 08:00 AM

wero cee ne ccerrarccmcer css Financial Summary
Owed Amount Paid Amount Due Amount

1 cAdO C LIENS, ENTER ING/ENDORSEM $10.00 $10.00 $.00

1 MCOO M JUDGEMENTS: $210,000.00 $.00 $210,000.00
[rococo rccter enn t tect t tree Financial Totals <-----7rrcetcnr |
Description Owed Amount Paid Amount Due Amount
Court Costs $10.00 $710.00 $.00
All Other $210,000.00 $.00 $210,000.00
** Grand Totals $210,010.00 $10.00 $210,000.00
07821 LNLNO10635
Rpt ID : FM8030 lowa Court Information Systems Page: 4
Rpt Date: 09-JUL-04 SCOTT
Rpt Time: 04:08 PM Clerk of Court - CARLIN, ACTING, JULIE C
Rpt Beg: 21-JUL-97 Case Financial Management
Rpt End: 09-JUL-04 Financial Detail
Case Id : O7-B2-1-  -LN-LNO10635 Title: BROWWER, JOHN VS RUHL, CHARLES ET AL
Receipt Nbr: 476836
|orer-er- Fin --7r77rtt J [rcrccrccctter rrr Receipt -------srtttt ttt | [ecretrerc ttt Disbursement -------077t7 7577" |
AR-F G Fin Cd Desc Date No Obigr PIN Obigr Name Amount Date No Oblge PIN Obige Name Amount
AP-F C Fin Cd Desc F-T 1T-C gatch Payor PIN Payor Name F-T T-C Batch Payee PIN Payee Name
CAO1 C LIENS, ENTERING/E 24-JUL-97 476836 $C1212019 BROWNER , JO $10.00 O1-AUG-97 2105 STATEIOWA STATE OF I $10.0
CAO2 C LIENS, ENTERING/E CHK STD RECCY $C1212019 BROWNER, JO CHK STD RECCV STATEJOWA STATE OF |
** Receipt Totals $10.00 $10.01
$10.00 $10.01

** Grand Total

